 Case 2:12-md-02327 Document 1496 Filed 03/17/15 Page 1 of 1 PageID #: 18349




                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION


 IN RE: ETHICON, INC.,                                                   MDL NO. 2327
        PELVIC REPAIR SYSTEM
        PRODUCTS LIABILITY LITIGATION

 THIS DOCUMENT RELATES TO ALL CASES

                                         ORDER

        Pending before the court is a Motion for Change of Attorney Information, filed on

 November 26, 2014. [Docket # 1388.] In the motion, counsel request that in the main MDL

 and each individual case in which attorneys Sean Patrick Tracey and Shawn Paul Fox appear,

 the firm name, telephone number, facsimile and email addresses be changed.

       It is ORDERED that the Motion for Change of Attorney Information is GRANTED in

 part with respect to the update of the firm name, telephone number and facsimile. It is

 ORDERED that the Motion for Change of Attorney Information is DENIED in part as to the

 change of email addresses.

       The Clerk is instructed to update the firm name, telephone number and facsimile, as set

 forth in the Motion, both on the main master docket and for each individual member case in

 MDL 2327 with which said attorneys are associated. The Clerk is instructed not to update the

 email addresses.

       The Clerk is directed to send a copy of this Order to counsel of record and any

unrepresented party.

                                            ENTER: March 17, 2015
                                    
